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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

      IMPLICIT, LLC,                               §
                                                   §
                  Plaintiff,                       §
             v.                                    §         Case No. 2:19-cv-00040-JRG-RSP
                                                   §         LEAD CASE
      IMPERVA, INC.,
                                                   §
                  Defendant.                       §
                                                   §
      IMPLICIT, LLC,                               §
                                                   §
                  Plaintiff,                       §
             v.                                    §         Case No. 2:19-cv-00037-JRG-RSP
                                                   §         CONSOLIDATED CASE
      JUNIPER NETWORKS, INC.,
                                                   §
                  Defendant.                       §
                                                   §

                                                ORDER
 .
            Before the Court is Plaintiff Implicit, LLC’s (“Implicit”) Unopposed Motion for Extension

     of Time (“Motion for Extension”). Dkt. No. 169. This Motion for Extension seeks to extend the

     time for Implicit to file a Response to Defendant Juniper Networks, Inc.’s Supplemental Motion

     to Transfer Venue to the District of Delaware (“Supplemental Motion”) (Dkt. No. 164) from

     December 23, 2019, to January 3, 2020. Dkt. No. 169.

            After consideration, the Court GRANTS Implicit’s Motion for Extension. It is therefore

     ORDERED that Implicit’s deadline to file a response to Juniper’s Supplemental Motion is hereby

     extended to January 3, 2020.
            SIGNED this 3rd day of January, 2012.
           SIGNED this 26th day of December, 2019.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
